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         2.       ORDERED that nothing herein modified the Retention Order; it is further

         3.       ORDERED that the estates are authorized and directed to pay Kroll’s fees in the

amount of $46,038.19, i.e., 20% of the fees allowed in paragraph 1 above, within fourteen days

of the date of this Order; it is further

         4.       ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from the implementation of this Order; it is further

         5.       ORDERED that the Debtors’ estates and Kroll are authorized and empowered to

take all necessary actions to implement the relief granted in this Order; it is further

         6.       ORDERED that notwithstanding the possible applicability of Bankruptcy Rules

6006(d), 7062, 9014, or otherwise, the terms and conditions of this Order shall be immediately

effective and enforceable upon its entry; and it is further

         7.       ORDERED that all time periods set forth in this Order shall be calculated in

accordance with Bankruptcy Rule 9006(a).



              Dated at Bridgeport, Connecticut this 26th day of March, 2025.




                                                   2
